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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND

                                       :
CHARLES RUSSELL PERRY, III,            :
                                       :
       Plaintiff,                      :
                                       :
v.                                     :      Case No.
                                       :
THE 3M COMPANY (f/k/a Minnesota        :      PLAINTIFF’S ORIGINAL
Mining and Manufacturing Company), :          COMPLAINT AND DEMAND
AGC CHEMICALS AMERICAS, INC.,          :      FOR JURY TRIAL
AMEREX CORPORATION, ARCHROMA, :
U.S., INC., ARKEMIA, INC., BASF        :
CORPORATION, Individually and as       :
Successor in Interest to Ciba, Inc.,   :
BUCKEYE CORPORATION, CARRIER :
GLOBAL CORPORATION,                    :
CHEMDESIGN PRODUCTS, INC.,             :
CHEMGUARD, INC., CHEMICALS, INC., :
CHUBB FIRE, LTD., CLARIANT             :
CORPORATION, Individually and as       :
Successor in Interest to Sandoz        :
Chemical Corporation, CORTEVA, INC., :
Individually and as Successor in       :
Interest to DuPont Chemical Solutions :
Enterprise, DEEPWATER CHEMICALS, :
INC., DUPONT DE NEMOURS, INC., :
Individually and as Successor in       :
Interest to DuPont Chemical Solutions :
Enterprise, DYNAX CORPORATION,         :
E. I. DUPONT DE NEMOURS AND            :
COMPANY, Individually and as           :
Successor in Interest to DuPont        :
Chemical Solutions Enterprise,         :
KIDDE PLC, INC., KIDDE-FENWAL,         :
INC., Individually and as Successor in :
Interest to Kidde Fire Fighting, Inc., :
NATION FORD CHEMCIAL COMPANY, :
NATIONAL FOAM, INC., THE               :
CHEMOURS COMPANY, Individually         :
and as Successor in Interest to DuPont :
Chemical Solutions Enterprise, THE     :
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CHEMOURS COMPANY FC, LLC,             :
Individually and as Successor in      :
Interest to DuPont Chemical Solutions :
Enterprise, TYCO FIRE PRODUCTS,       :
LP, Individually and as Successor in  :
Interest to The Ansul Company,        :
UNITED TECHNOLOGIES                   :
CORPORATION, UTC FIRE &               :
SECURITY AMERICA’S CORPORATION :
and DOE DEFENDANTS 1-20,              :
                                      :
Defendants.                           :


                          PLAINTIFF’S ORIGINAL COMPLAINT
                            AND DEMAND FOR JURY TRIAL

      COMES NOW Plaintiff, CHARLES RUSSELL PERRY, III (“Plaintiff”), by and

through his undersigned counsel, hereby files this Complaint against: THE 3M

COMPANY          (f/k/a   Minnesota   Mining   and   Manufacturing   Company),   AGC

CHEMICALS AMERICAS, INC., AMEREX CORPORATION, ARCHROMA U.S.,

INC., ARKEMIA, INC., BASF CORPORATION, Individually and as Successor in

Interest    to    Ciba,    Inc.,   BUCKEYE     CORPORATION,     CARRIER     GLOBAL

CORPORATION,              CHEMDESIGN     PRODUCTS,      INC.,   CHEMGUARD,       INC.,

CHEMICALS, INC., CHUBB FIRE, LTD., CLARIANT CORP., Individually and as

Successor in Interest to Sandoz Chemical Corporation, CORTEVA, INC., Individually

and as Successor in Interest to DuPont Chemical Solutions Enterprise,

DEEPWATER CHEMICALS, INC., DUPONT DE NEMOURS, INC., Individually

and as Successor in Interest to DuPont Chemical Solutions Enterprise, DYNAX

CORPORATION, E. I. DUPONT DE NEMOURS AND CORPOTAION, Individually

and as Successor in Interest to DuPont Chemical Solutions Enterprise, KIDDE PLC,


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INC., KIDDE-FENWAL, INC., Individually and as Successor in Interest to Kidde

Fire Fighting, Inc., NATION FORD CHEMCIAL COMPANY, NATIONAL FOAM,

INC., THE CHEMOURS COMPANY, Individually and as Successor in Interest to

DuPont Chemical Solutions Enterprise, THE CHEMOURS COMPANY FC, LLC,

Individually and as Successor in Interest to DuPont Chemical Solutions Enterprise,

TYCO FIRE PRODUCTS, LP, Individually and as Successor in Interest to The Ansul

Company, UNITED TECHNOLOGIES CORPORATION, UTC FIRE & SECURITY

AMERICA’S CORPORATION, and DOE DEFENDANTS 1-20, fictitious names

whose present identifies are unknown (collectively “Defendants”) and alleges, upon

information and belief, as follows:

                                      INTRODUCTION

       1.       Aqueous Film Forming Foam (“AFFF”) is a specialized substance

designed to extinguish petroleum-based fires. It has been used for decades, and

continues to be used, by civilian and military firefighters to put out fires and in

training and response exercises in preparation for fires.

       2.       AFFF contains synthetic, toxic per- and polyfluoroalkyl substances

collectively known as “PFAS.” 1 PFAS bind to proteins in the blood of animals and

humans exposed to such materials and not only remain and persist over long periods



1 PFAS” includes but is not limited to: perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic
acid (“PFOS”) and related chemicals, including but not limited to those that degrade to PFOA and/or
PFOS, and including but not limited to C3-C-15 PFAS chemicals, such as perfluorohexanesulfonate
(PFHxS), perfluorononanoate (PFNA), perfluorobutanesulfonate (PFBS), perfluorohexanoate
(PFHxA), perfluoroheptanoate (PFHpA), perfluoroundecanoate (PFUnA), perfluorododecanoate
(PFDoA),    HFPA      Dimer      Acid    (CAS     #    13252      -13-   6/C3    Dimer    Acid/P-08-
508/FRD903/GX903/C3DA/GenX), and HFPA Dimer Acid Ammonium Salt (CAS#62037-80-
3/ammonium salt of C3 Dimer Acid/P-08-509/FRD902/GX903/GenX).

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of time, but, due to their unique chemical structure, accumulate and build up in the

blood/body of the exposed individuals with each additional exposure, no matter how

small. PFAS can travel long distances, move through soil, seep into groundwater, or

be carried through air.

      3.       Defendants collectively designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold and/or

otherwise handled and/or used AFFF with knowledge that it contained highly toxic

and long lasting PFASs, which would contaminate Plaintiff’s blood and/or body with

PFAS, and the resultant biopersistence and bioaccumulation of such PFAS in the

blood and/or body of Plaintiff. Further, defendants designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or

products added to AFFF which contained PFAS for use in firefighting.

      4.       As a result, Plaintiff was exposed to AFFF containing PFAS and suffered

severe personal injuries as a result.

      5.       This action is brought by Plaintiff for injunctive, equitable, and

declaratory relief for injuries arising from the intentional, knowing, reckless and/or

negligent acts and/or omissions of Defendants in connection with contamination of

the blood and/or body of the Plaintiff with PFAS through the design, marketing,

development, manufacture, distribution, release, training, and sale of AFFF

containing PFAS and/or underlying chemicals and/or products added to AFFF which

contained PFAS.



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                            JURISDICTION AND VENUE

      6.       This Court has jurisdiction over Defendants and this action pursuant

to 28 U.S.C. § 1332, because there is complete diversity of citizenship between

Plaintiff and Defendants. Defendants are either incorporated and/or have their

principal place of businesses outside of the State of Maryland in which the

Plaintiff resides.

      7.       The amount in controversy between Plaintiff and Defendants

exceeds $75,000, exclusive of interest and cost.

      8.       The Court also has supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367.

      9.       Venue is proper within this district pursuant to 28 U.S.C. § 1391

in that Defendants conduct business here and is subject to personal jurisdiction

in this district. Furthermore, Defendants sell, market, and/or distribute AFFF

within the District of Maryland. Also, a substantial part of the acts and/or

omissions giving rise to these claims occurred within this district.

                                       PARTIES

A.    PLAINTIFF

      10.      Plaintiff, CHARLES RUSSELL PERRY, III, is a citizen of the United

States of America and a current resident of La Plata, Charles County, State of

Maryland.

      11.      Plaintiff, CHARLES RUSSELL PERRY, III, was born on May 10, 1956.

      12.      Plaintiff   was   exposed   to   Defendants’   fluorochemical   products



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throughout his many years of service as a volunteer firefighter and civil firefighter

for the U.S. Department of Defense, including, but not limited to, routine trainings,

as well as active firefighting while stationed at Fort Meyer Army Base in Arlington,

Virginia and Indian Head Naval Support Facility in Indian Head, Maryland.

      13.    As a result of his exposure to Defendants’ fluorochemical products,

Plaintiff was diagnosed with kidney cancer, which has caused Plaintiff to undergo a

radical nephrectomy of his right kidney, and to suffer severe personal injuries, pain,

and emotional distress.

      14.    The injuries, pain, suffering, and emotional distress were caused by

Defendants’ fluorochemical products.

B.    DEFENDANTS

      15.    The term “Defendant” or “Defendants” refers to all Defendants named

herein jointly and severally.

      16.    Any and all references to a Defendant or Defendants in this Complaint

include any predecessors, successors, parents, subsidiaries, affiliates and divisions of

the named Defendants.

      17.    When reference is made in this Complaint to any act or omission of any

of the Defendants, it shall be deemed that the officers, directors, agents, employees,

or representatives of the defendants committed or authorized such act or omission,

or failed to adequately supervise or properly control or direct their employees while

engaged in the management, direction, operation, or control of the affairs of

defendants, and did so while acting within the scope of their duties, employment or



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agency.

      18.     At all times relevant to this litigation, upon information and belief, each

of the defendants designed, developed, manufactured, marketed and/or sold the

AFFF or fluorochemical products containing PFOA or PFOS used by firefighters

throughout the country, including the State of Maryland.

      19.     Each of the Defendants designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold and/or

otherwise handled and/or designed and manufactured components of and/or used

AFFF containing PFAS that are used in firefighting training and response exercises

which are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in Plaintiff’s blood and/or body.

      20.     Defendant,    3M     COMPANY         (f/k/a/   Minnesota    Mining     and

Manufacturing Company) (“3M”) is a Delaware Corporation and conducts business

throughout the United States, with its principal place of business located at 3M

Center, St. Paul, Minnesota 55144. Defendant may be served via Alternative

Service as set forth in MDL 2873 CMO #6.

      21.     Defendant, 3M COMPANY manufactured, distributed, and sold

fluorochemical products and AFFF from the 1960s until 2002.

      22.     Defendant, AGC CHEMICALS AMERICAS INC. (“AGC Americas”) is

a corporation organized and existing under the laws of Delaware, having a principal

place of business in 5 East Uwchlan Avenue, Suite 201 Exton, PA 19341 United



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States. Defendant may be served via Alternative Service as set forth in MDL

2873 CMO #6D.

      23.   AGC Americas operates throughout the United States, manufacturing

glass, electronic displays and chemical products, including resins, water and oil

repellants, greenhouse films, silica additives, and various fluorointermediates,

including those used in AFFF products.

      24.   Defendant, AMEREX CORPORATION (“Amerex”) is a corporation

organized and existing under the laws of Alabama, having a principal place of

business at 7595 Gadsden Highway, Trussville, AL 35173. Defendant may be

served via Alternative Service as set forth in MDL 2873 CMO #6A.

      25.   Defendant ARCHROMA U.S., INC. (“Archroma”), is a corporation

organized and existing under the laws of Delaware, having a principal place of

business at 4000 Monroe Road, Charlotte, North Carolina 28205. Defendant may

be served via Alternative Service as set forth in MDL 2873 CMO #6A.

      26.   Defendant, ARKEMA INC. (“Arkema”) is a corporation organized and

existing under the laws of Pennsylvania, having a principal place of business at 900

First Avenue, King of Prussia, PA 19406. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6A.

      27.   Arkema develops specialty chemicals and fluoropolymers.

      28.   Arkema is a successor in interest to Elf Atochem North America and

Atofina Chemicals Inc., which manufactured fluorosurfactants containing PFOA that

was used in AFFF.



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      29.    Defendant, BASF CORPORATION (“BASF”) is a corporation

organized and existing under the laws of Delaware, having a principal place of

business at 100 Park Avenue, Florham Park, New Jersey 07932. Defendant may be

served via Alternative Service as set forth in MDL 2873 CMO #6A.

      30.    On information and belief, BASF is the largest affiliate of BASF SE and

the second largest producer and marketer of chemicals and related products in North

America.

      31.    On information and belief, BASF Corporation is the successor in interest

to Ciba-Geigy, Inc., Ciba Specialty Chemicals Company, and Ciba, Inc., a Swiss

specialty chemicals company, that manufactured fluorosurfactants containing PFOA

used in AFFF.

      32.    Defendant, BUCKEYE FIRE EQUIPMENT COMPANY (“Buckeye”)

is a corporation organized and existing under the laws of Ohio, with its principal place

of business at 110 Kings Road, Kings Mountain, North Carolina 28086. Defendant

may be served via Alternative Service as set forth in MDL 2873 CMO #6.

      33.    Defendant, CARRIER GLOBAL CORPORATION (“Carrier”), is a

corporation organized and existing under the laws of Delaware, with its principal

place of business at 13995 Pasteur Blvd., Palm Beach Garden, FL 33418. Defendant

may be served via Alternative Service as set forth in MDL 2873 CMO #6C.

      34.    Defendant, CHEMDESIGN PRODUCTS, INC. is a corporation

organized and existing under the laws of Texas and having a principal place of

business at 2 Stanton Street, Marinette, Wisconsin 54143, that manufactured



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fluorosurfactants containing PFOA used in AFFF. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6B.

      35.    Defendant, CHEMGUARD, INC. (“Chemguard”) is a corporation

organized and existing under the laws of Texas, with its principal place of business

at One Stanton Street, Marinette, Wisconsin 54143. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6.

      36.    Upon information and belief, Chemguard is a subsidiary of Johnson

Controls International, PLC.

      37.    Defendant, CHEMICALS, INC. (“Chemicals”) is a corporation

organized and existing under the laws of Texas, with its principal place of business

at 12321 Hatcherville Road, Baytown, Texas 77521. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6D.

      38.    Defendant, CHUBB FIRE, LTD. (“Chubb”) is a foreign private limited

company, with offices at Littleton Road, Ashford, Middlesex, United Kingdom TW15

1TZ. Upon information and belief, Chubb is registered in the United Kingdom with a

registered number of 134120. Defendant may be served via Alternative Service

as set forth in MDL 2873 CMO #6.

      39.    Upon information and belief, Chubb is or has been composed of different

subsidiaries and/or divisions, including but not limited to; Chubb Fire & Security,

Ltd., Chubb Security, PLC, Red Hawk Fire & Security, LLC, and/or Chubb National

Foam, Inc.

      40.    Defendant, CLARIANT CORPORATION (“Clariant”) is a corporation



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organized and existing under the laws of New York, having a principal place of

business at 4000 Monroe Road, Charlotte, North Carolina 28205. Defendant may

be served via Alternative Service as set forth in MDL 2873 CMO #6A.

      41.    On information and belief, Clariant was formerly known as Sandoz

Chemicals Corporation, and manufactured fluorointermediates used in AFFF

products.

      42.    Defendant, CORTEVA, INC. (“Corteva”) is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 974

Centre Rd., Wilmington, Delaware 19805. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6A.

      43.    Defendant, DEEPWATER CHEMICALS, INC. (“Deepwater”) is a

corporation organized and existing under the laws of Delaware, having a principal

place of business at 196122 E. County Road 40, Woodward, Oklahoma 73801.

Defendant may be served via Alternative Service as set forth in MDL 2873

CMO #6B.

      44.    Defendant, DUPONT DE NEMOURS INC. (f/k/a DowDuPont, Inc.)

(“Dupont de Nemours Inc.”) is a corporation organized and existing under the laws of

Delaware, having a principal place of business at 974 Centre Road, Wilmington,

Delaware 19805 and 2211 H.H. Dow Way, Midland, Michigan 48674. Defendant

may be served via Alternative Service as set forth in MDL 2873 CMO #6A.

      45.    On June 1, 2019, DowDuPont, Inc. separated its agriculture business

through the spin-off Corteva, Inc.



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      46.    Prior to the separation, DowDuPont owned Corteva as a wholly-owned

subsidiary formed in February 2018.

      47.    On June 1, 2019, DowDuPont distributed a pro rata dividend of both

issued and outstanding shares of Corteva common stock to DowDuPont shareholders.

      48.    Corteva holds certain Dow DuPont assets and liabilities including

DowDuPont’s agriculture and nutritional businesses.

      49.    On June 1, 2019 DowDuPont, the surviving entity after the spin-off of

Corteva and another entity known as Dow, Inc., changed its name to DuPont de

Nemours, Inc., to be known as DuPont (“New DuPont”). New DuPont retained assets

in the specialty products business lines following the spin-offs, as well as the balance

of the financial assets and liabilities of E.I. DuPont not assumed by Corteva.

      50.    Defendants E.I. Du Pont de Nemours and Company; The Chemours

Company; The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours,

Inc. are collectively referred to as “DuPont” throughout this Complaint.

      51.    Defendant, DYNAX CORPORATION (“Dynax”) is a corporation

organized and existing under the laws of Delaware, having a principal place of

business at 79 Westchester Avenue, Pound Ridge, New York 10576. Defendant may

be served via Alternative Service as set forth in MDL 2873 CMO #6.

      52.    On information and belief, Dynax entered the AFFF business in 1991

and quickly became a leading global producer of fluorosurfactants and fluorochemical

foam stabilizers used in firefighting foam agents.

      53.    Defendant, E. I. DUPONT DE NEMOURS & COMPANY (“DuPont”)



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is a corporation organized and existing under the laws of Delaware, having a

principal place of business is 974 Centre Road Wilmington, Delaware 19805.

Defendant may be served via Alternative Service as set forth in MDL 2873

CMO #6E.

      54.    DuPont is a successor in interest to DuPont Chemical Solutions

Enterprise (“DuPont Chemical”), a Delaware corporation with a principal place of

business located at 1007 Market Street Wilmington, Delaware 19898.

      55.    DuPont Chemical was a member of the Telomer Research Program

(“TRP”). As a member it was required to provide a list and volume of products it was

selling in the United States on a yearly basis.

      56.    In a letter addressed to the Office of Pollution Prevention and Toxics

(OPPT) Document Control Office, dated May 14, 2003 and signed by Stephen H.

Korzeniowski, DuPont provided its Telomer-based sales products in the United

States for the year 2002.

      57.    The letter, which was redacted and sent to the USEPA under its PFOA

Stewardship Program, included AFFF sales volume, on an active ingredient pound

basis, as well as its Chemical Abstracts Service (CAS) number and chemical name,

and is included in the PFOA Stewardship Program Docket.

      58.    Defendant, KIDDE PLC, INC. (“Kidde”) is a foreign corporation

organized and existing under the laws of the State of Delaware and does business

throughout the United States. Kidde P.L.C. has its principal place of business at One

Carrier Place, Farmington, Connecticut 06034. Defendant may be served via



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Alternative Service as set forth in MDL 2873 CMO #6.

      59.    Defendant, KIDDE-FENWAL, INC. (“Kidde-Fenwal”) is a corporation

organized under the laws of Delaware, having a principal place of business at One

Financial Plaza, Hartford, Connecticut 06101. Kidde-Fenwal is the successor-in-

interest to Kidde Fire Fighting, Inc. (f/k/a Chubb National Foam, Inc. f/k/a National

Foam System, Inc.) (collectively, “Kidde/Kidde Fire”). Defendant may be served

via Alternative Service as set forth in MDL 2873 CMO #6.

      60.    Upon information and belief, Kidde PLC was formerly known as

Williams Holdings, Inc. and/or Williams US, Inc.

      61.    Defendant, NATION FORD CHEMICAL COMPANY (“Nation Ford”)

is a corporation organized and existing under the laws of South Carolina, having a

principal place of business at 2300 Banks Street, Fort Smith, South Carolina 29715.

Defendant may be served via Alternative Service as set forth in MDL 2873

CMO #6C.

      62.    Defendant, NATIONAL FOAM, INC. (“National Foam”) is a

corporation organized and existing under the laws of Delaware, having a principal

place of business at 141 Junny Road, Angier, North Carolina 27501 and at 350 East

Union Street, West Chester, Pennsylvania 19382. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6.

      63.    Upon information and belief, National Foam is a subsidiary of Angus

International Safety Group, Ltd.

      64.    Defendant, THE CHEMOURS COMPANY (“Chemours”) is a



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corporation organized and existing under the laws of Delaware, having a principle

place of business at 1007 Market Street, Wilmington, Delaware 19889. Defendant

may be served via Alternative Service as set forth in MDL 2873 CMO #6E.

      65.    In 2015, DuPont spun off its “performance chemicals” business to

Chemours along with certain environmental liabilities. Upon information and belief,

at the time of the transfer of its performance chemicals business to Chemours,

DuPont had been sued, threatened with suit and/or had knowledge of the likelihood

of litigation to be filed regarding DuPont’s liability for damages and injuries arising

from the manufacture and sale of fluorochemicals and the products that contain

fluorochemicals.

      66.    Defendant, THE CHEMOURS COMPANY FC, LLC (“Chemours

FC”), a Successor in Interest to DuPont Chemical, is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 1007

Market Street Wilmington, Delaware 19899. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6E.

      67.    Defendant, TYCO FIRE PRODUCTS L.P., Individually and as

Successor in Interest to The Ansul Company (“Tyco”) is a limited partnership

organized under the laws of Pennsylvania, with its principal place of business at 1400

Pennbrook Parkway, Landsdale, Pennsylvania 19446. Defendant may be served

via Alternative Service as set forth in MDL 2873 CMO #6.

      68.    Upon information and belief, Tyco is a subsidiary of Johnson Controls

International, PLC.



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      69.    Tyco is the successor in interest of The Ansul Company (“Ansul”), having

acquired Ansul in 1990.

      70.    Beginning in or around 1975, Ansul manufactured and/or distributed

and sold AFFF that contained PFOA and PFOA. After Tyco acquired Ansul in 1990,

Tyco/Ansul continued to manufacture, distribute and sell AFFF that contained PFOA

and PFOS.

      71.    Upon information and belief, Tyco acquired the Chemguard brand in

2011 and continues to sell Chemguard AFFF products through its Chemguard

Specialty Chemicals division.

      72.    Defendant,     UNITED       TECHNOLOGIES            COPRPORATION

(“United”) is a foreign corporation organized and existing under the laws of the State

of Delaware and does business throughout the United States. United Technologies

has its principal place of business at 8 Farm Springs Road, Farmington, Connecticut

06032. Defendant may be served via Alternative Service as set forth in MDL

2873 CMO #6.

      73.    United Technologies designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold, and/or

otherwise handled and/or used AFFF containing PFAS that are the subject of this

Complaint.

      74.    Defendant, UTC FIRE & SECURITY AMERICAS COPRORATION

(f/k/a GE Interlogix, Inc.) (“UTC”) is a North Carolina corporation and does business

throughout the United States. UTC has principal place of business at 3211 Progress



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Drive, Lincolnton, North Carolina 28092. Defendant may be served via

Alternative Service as set forth in MDL 2873 CMO #6.

      75.    Upon information and belief, Kidde-Fenwal, Inc. is part of the UTC

Climate Control & Security unit of United Technologies Corporation.

                     GENERAL FACTUAL ALLEGATIONS

A.    THE FLUOROCHEMICALS: PFOA AND PFOS

      76.    Fluorochemical products are man-made chemicals composed of a chain

of carbon atoms in which all but one of the carbon atoms are bonded to fluorine atoms,

and the last carbon atom is attached to a functional group. The carbon-fluorine bond

is one of the strongest chemical bonds that occur in nature, which is a reason why

these molecules are so persistent. Fluorochemical products that contain eight carbon-

fluorine bonds are sometimes referred to as “C8.”

      77.    Fluorochemical products are highly water soluble, which facilitates the

ease at which they spread throughout the environment, contaminating soil,

groundwater and surface water. This mobility is made more dangerous by their

persistence in the environment and resistance to biologic, environmental, or

photochemical degradation.

      78.    Fluorochemical products are readily absorbed in animal and human

tissues after oral exposure and accumulate in the serum, kidney, and liver. They have

been found globally in water, soil, and air as well as in human food supplies, breast

milk, umbilical cord blood, and human blood serum.

      79.    Fluorochemical products are persistent in the human body. A short-term



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exposure can result in a body burden that persists for years and can increase with

additional exposures.

      80.    Since fluorochemical products were first produced, information has

emerged showing negative health effects caused by exposure to fluorochemical

products.

      81.    According to the United States Environmental Protection Agency

(“EPA”), studies indicate that exposure to fluorochemical products over certain levels

may result in developmental effects to fetuses during pregnancy or to breastfed

infants (e.g., low birth weight, accelerated puberty, skeletal variations), cancer (e.g.,

testicular, kidney), liver effects (e.g., tissue damage), immune effects (e.g., antibody

production and immunity), thyroid effects and other effects (e.g., cholesterol changes).

      82.    The EPA has also warned that there is suggestive evidence of

carcinogenic potential for fluorochemical products.

      83.    The EPA has noted that drinking water can be an additional source of

PFC’s in the small percentage of communities where these chemicals have

contaminated water supplies. “In communities with contaminated water supplies,

such contamination is typically       localized and associated with a specific facility,

for example…an airfield at which fluorochemical products were used for firefighting.”

      84.    The EPA has issued Health Advisory Levels of 70 parts per trillion

(“ppt”) for PFOA and PFOS found in drinking water. When both PFOA and PFOS are

found in drinking water, the combined concentrations should not exceed 70 ppt.




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B.    AQUEOUS FILM-FORMING FOAM (“AFFF”)

      85.     AFFF is a type of water-based foam that was first developed in the 1960s

to extinguish flammable liquid fuel fires at airports and military bases, among other

places.

      86.     The AFFF designed, manufactured, marketed, distributed, and/or sold

by Defendants contained either or both PFOA and PFOS, or the chemical precursors

to PFOA or PFOS.

      87.     PFOS and/or the chemical precursors to PFOS contained in 3M’s AFFF

were manufactured by 3M’s patented process of electrochemical fluorination (“ECF”).

      88.     All other Defendants manufactured fluorosurfactants for use in AFFF

through the process of telomerization. Telomerization produced fluorotelomers,

including PFOA and/or the chemical precursors to PFOA.

      89.     AFFF can be made without PFOA, PFOS, or their precursor chemicals,

that do not release PFOA, PFOS, and/or their precursor chemicals into the

environment or in humans.

      90.     When used as the Defendants intended and directed, Defendants’ AFFF

releases PFOA, PFOS, and/or their precursor chemicals into the environment.

      91.     Once PFOA and PFOS are free in the environment, these chemicals do

not hydrolyze, photolyze, or biodegrade under typical environmental conditions and

are extremely persistent in the environment. Because of their persistence, they are

widely distributed throughout soil, air, and groundwater.

      92.     Due to the chemicals’ persistent nature, among other things, these



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chemicals have, and continue to cause injury and damage to Plaintiff.

C.    DEFENDANTS’ KNOWLEDGE

      93.    On information and belief, by the early 1980s, Defendants knew, or

reasonably should have known, among other things, that: (a) PFOA and PFOS are

toxic; and (b) when sprayed in the open environment per the instructions given by

the manufacturer, PFOA and PFOS readily migrate through the subsurface, mix

easily with groundwater, resist natural degradation, render drinking water unsafe

and/or non-potable, and can be removed from public drinking water supplies only at

substantial expense.

      94.    Defendants also knew or reasonably should have known that PFOA and

PFOS could be absorbed into the lungs and gastrointestinal tract, potentially causing

severe damage to the liver, kidneys, and central nervous system, in addition to other

toxic effects, and that PFOA and PFOS are known carcinogens which cause genetic

damage.

      95.    In 1980, 3M published data in peer- reviewed literature showing that

humans retain PFOS in their bodies for years. Based on that data, 3M estimated that

it could take a person up to 1.5 years to clear just half of the accumulated PFOS from

their body after all exposures had ceased.

      96.    By the early 1980s, the industry suspected a correlation between PFOS

exposure    and   human   health   effects.   Specifically,   manufacturers   observed

bioaccumulation of PFOS in workers’ bodies and birth defects in children of workers.

      97.    In 1981, DuPont tested for and found PFOA in the blood of female plant



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workers in Parkersburg, West Virginia. DuPont observed and documented pregnancy

outcomes in exposed workers, finding two of seven children born to female plant

workers between 1979 and 1981 had birth defects—one an “unconfirmed” eye and

tear duct defect, and one a nostril and eye defect.

      98.    Beginning in 1983, 3M documented a trend of increasing levels of PFOS

in the bodies of 3M workers. In an internal memo, 3M’s medical officer warned “we

must view this present trend with serious concern. It is certainly possible that …

exposure opportunities are providing a potential uptake of fluorochemicals that

exceeds excretion capabilities of the body.”

      99.    Based on information and belief, in 2000, under pressure from the EPA,

3M announced that it was phasing out PFOS and U.S. production of PFOS; 3M’s

PFOS-based AFFF production did not fully phase out until 2002.

      100.   From 1951, DuPont, and on information and belief, Chemours, designed,

manufactured, marketed, and sold fluorochemical products, including Teflon

nonstick cookware, and more recently, PFAS feedstocks, such as Forafac 1157 N, for

the use in the manufacture of AFFF products.

      101.   Based on information and belief, in 2001 or earlier, DuPont

manufactured, produced, marketed, and sold fluorochemical products and/or PFAS

feedstocks to some or all of the AFFF product manufacturers for use in their AFFF

products.

      102.   DuPont had been studying the potential toxicity of PFOA since at least

the 1960s and knew that it was contaminating drinking water drawn from the Ohio



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River, and did not disclose to the public or to government regulators what they knew

about the substance’s potential effects on humans, animals, and/or the environment.

       103.   By December 2005, the EPA uncovered evidence that DuPont concealed

the environmental and health effects of PFOA, and the EPA announced the “Largest

Environmental Administrative Penalty in Agency History.” The EPA fined DuPont

for violating the Toxic Substances Control Act “Section 8(e)—the requirement that

companies report to the EPA substantial risk information about chemicals they

manufacture, process or distribute in commerce.”

       104.   By July 2011, DuPont could no longer credibly dispute the human

toxicity of PFOA, which it continued to manufacture. The “C8 Science Panel” created

as part of the settlement of a class action over DuPont’s releases from its Washington

Works plant reviewed the available scientific evidence and concluded that a “probable

link” exists between PFOA exposure and the serious (and potentially fatal) conditions

of pregnancy-induced hypertension and preeclampsia. By October 2012, the C8

Science Panel concluded that a probable link also exists between PFOA and five other

conditions—high cholesterol, kidney cancer, thyroid disease, testicular cancer, and

ulcerative colitis.

       105.   In July 2015, DuPont spun off its chemicals division by creating

Chemours as a new publicly traded company, once wholly owned by DuPont. By mid-

2015, DuPont had dumped its perfluorinated chemical liabilities into the lap of the

new Chemours.

       106.   Notwithstanding    this   knowledge,   Defendants     negligently   and



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carelessly: (1) designed, manufactured, marketed, distributed, and/or sold AFFF

products containing fluorochemicals, and/or fluorochemical products for use in AFFF;

(2) failed to issue instructions on how AFFF containing fluorochemical products

should be used and disposed of; (3) failed to recall and/or warn the users of

fluorochemical products, negligently designed products containing or degrading into

PFOA and/or PFOS, of the dangers of surface water, soil, and groundwater

contamination as a result of standard use and disposal of these products; and (4)

further failed and refused to issue the appropriate warnings and/or recalls to the

users of fluorochemical products, notwithstanding the fact that Defendants knew

foreseeable the identities of the purchasers and end users of the fluorochemical

products, as well as the final fate of fluorochemical products in water and biota,

including in humans.

          CHARLES RUSSELL PERRY, III’S EXPOSURE TO AFFF

      107.   Upon information and belief, the U.S. Department of Defense has stored

and used Defendants’ AFFF containing PFOA or PFOS chemicals and/or their

precursor chemicals in firefighter training and response exercises, including , but not

limited to, at Fort Meyer Army Base in Arlington, Virginia located at Arlington Blvd.,

Arlington, Virginia 22211, and at Indian Head Naval Support Facility located at 3767

Strauss Avenue, Indian Head, Maryland 20640.

      108.   For decades, AFFF containing PFAS has been used in firefighter

training and response exercises at military bases, airports and fire departments

across the country, including Fort Meyer Army Base in Arlington, Virginia and



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Indian Head Naval Support Facility in Indian Head, Maryland. The AFFF containing

PFAS, which was designed, manufactured, marketed, distributed and/or sold by

Defendants, was expected to, and did, reach Fort Meyer Army Base in Arlington,

Virginia and Indian Head Naval Support Facility in Indian Head, Maryland

substantial change in the condition in which it was sold.

      109.   Defendants designed, manufactured, marketed, distributed, and/or sold

the AFFF containing PFOA or PFOS chemicals and/or their precursor chemicals to

the U.S. Department of Defense for use at Fort Meyer Army Base in Arlington,

Virginia and Indian Head Naval Support Facility in Indian Head, Maryland.

      110.   The descriptive labels and material safety data sheets for Defendants’

AFFF containing PFOA or PFOS and/or their precursor chemicals utilized by

firefighters in the U.S. Department of Defense did not reasonably or adequately

describe the AFFF’s risks to human health.

      111.   The Defendants knew or should have known of the hazards of AFFF

containing PFOA or PFOS and/or their precursor chemicals when the products were

manufactured.

      112.   In 1979, Plaintiff was hired as a civilian firefighter for the U.S.

Department of Defense and was originally stationed at Fort Meyer Army Base in

Arlington, Virginia.

      113.   From approximately 1979 to 1981, Plaintiff trained with Defendants’

AFFF to fight any potential fires that might occur from any aviation crash at the

Pentagon located nearby in Arlington, Virginia.



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        114.   In 1981, Plaintiff was transferred to Indian Head Naval Support Facility

in Indian Head, Maryland.

        115.   From 1981 to approximately 2006, Plaintiff trained and worked with

Defendants’ AFFF on active fires at Indian Head Naval Support Facility in Indian

Head, Maryland.

        116.   Throughout his years of service in the U.S. Department of Defense,

Plaintiff was exposed to, inhaled and ingested Defendants’ AFFF and fluorochemical

products.

        117.   During Plaintiff’s exposure to Defendants’ AFFF products containing

PFOA and/or PFOS and/or their precursor chemicals, Plaintiff ingested such

products, and the PFOA and/or PFOS and/or their precursor chemicals entered

Plaintiff’s body.

        118.   At no point during his trainings or career did Plaintiff receive any

warning that Defendants’ AFFF products containing PFOA and/or PFOS and/or their

precursor chemicals were toxic or carcinogenic.

        119.   On May 3, 2018, Plaintiff’s doctors performed a robotic radical

nephrectomy of Plaintiffs right kidney, and confirmed the presence of a cancerous

mass.

        120.   Plaintiff suffered, and continues to suffer, the effects of his illness

proximately caused by exposure to Defendants’ fluorochemical products.




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                                CAUSES OF ACTION

                              COUNT I. NEGLIGENCE

      121.     Plaintiff hereby incorporates by reference all allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

      122.     As manufacturers, refiners, formulators, distributors, suppliers, sellers,

marketers, shippers, or handlers of fluorochemical products, Defendants owed a duty

to Plaintiff to exercise reasonable care in the instructing, labeling, and warning of the

handling, control, use and disposal of Defendants’ fluorochemical products.

      123.     Defendants also voluntarily assumed a duty towards Plaintiff by

affirmatively representing to Plaintiff that Defendants’ previously detailed acts

and/or omissions were not causing any physical harm or other damage to him, and

that Defendants’ fluorochemical products were safe to use.

      124.     Defendants’   fluorochemical    products    are   inherently   dangerous

substances and Defendants’ owed a duty of care towards the Plaintiff that was

commensurate with the harmful nature of the fluorochemical products and the

dangers involved with exposure to fluorochemical products.

      125.     Defendants failed to correct, clarify, rescind, and/or qualify its

representations to Plaintiff that Defendants’ acts and/or omissions were not causing

any physical harm and/or damage to him, or that the fluorochemical products were

safe to use.

      126.     Despite knowing that their fluorochemical products are toxic, can

contaminate soil and water resources, and present significant risks to human health



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and the environment, Defendants failed to use reasonable care when they: (a)

designed, manufactured, formulated, handled, labeled, instructed, controlled,

marketed, promoted, and/or sold fluorochemical products; (b) issued instructions on

how fluorochemical products should be used and disposed of; (c) failed to recall and/or

warn the users of fluorochemical products of the dangers to human health and water

contamination as a result of standard use and disposal of these products; and (d)

failed and refused to issue the appropriate warnings and/or recalls to the users of

fluorochemical products regarding the proper use and disposal of these products,

notwithstanding the fact that Defendants knew, or could determine with reasonable

certainty, the identity of the purchasers of their fluorochemical products.

      127.   But for Defendants’ negligent acts and/or omissions, Plaintiff would not

have been exposed to unhealthy levels of fluorochemicals.

      128.   Defendants’ failure to act with reasonable care to (1) design a product to

perform safely; (2) failure to issue an adequate warning or instruction on the use of

fluorochemical products warning and; (3) failure to issue a recall, were substantial

factors in causing Plaintiff’s harm.

      129.   Defendants knew or reasonably should have known that users would not

realize the danger Defendant’s fluorochemical products posed to human health.

      130.   A reasonable manufacturer or distributor under the same or similar

circumstances would have warned of the danger.

      131.   Defendants’ negligent acts and omissions directly and proximately

caused Plaintiff’s kidney cancer and continue to directly and proximately cause



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damage to Plaintiff in the form of severe personal injuries, pain, suffering, and

emotional distress.

          132.   Plaintiff is reasonably certain to have future permanent and lasting

detrimental health effects due to Plaintiff’s present and past injuries directly and

proximately caused by Defendants’ negligent acts or omissions.

          133.   It has been reasonably foreseeable to Defendants for at least several

decades that Defendants’ negligent acts and/or omissions would directly and

proximately cause bodily injury and economic damage to Plaintiff including the

injuries and damages that Plaintiff suffers from.

          134.   Defendants’ were conscious of the dangers of fluorochemical products,

and its negligent acts or omissions, and were conscious that bodily injury to Plaintiff

would or was likely to result from the fluorochemical products and Defendants’

negligent acts and/or omissions. Nevertheless, with reckless indifference to these

consequences, and as previously detailed, Defendants consciously and intentionally

acted negligently and/or omitted the duties Defendants knew it owed to Plaintiff,

other exposed individuals, and the public at large, and Plaintiff was harmed as a

result.

          135.   The acts and omissions of Defendants were negligent, intentional,

reckless, malicious, willful and/or wanton, and as a direct and proximate result

Plaintiff, has suffered and will continue to suffer some or all of the following damages:

                 a.    Medical and hospital bills for diagnosis, monitoring, and
                       treatment of injuries;

                 b.    Physical injury, both temporary and permanent;


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              c.    Economic Damages;

              d.    Severe and significant emotional distress and mental pain
                    and suffering;

              e.    Humiliation, embarrassment and fear;

              f.    Loss of enjoyment of life;

              g.    Annoyance and inconvenience; and

              h.    Other damages, which, under the law and circumstances,
                    Plaintiff is entitled to recover, including attorneys’ fees and
                    costs associated with the prosecution of this action.

      WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                        COUNT II. NEGLIGENCE PER SE

      136.    Plaintiff incorporates herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

      137.    One or more federal statutes, including but not limited to 15 U.S.C. §§

2607 and 2614, 33 U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 6921-6939e, impose

duties of care on Defendants with regard to Defendants’ actions and/or omissions

towards Plaintiff and/or Plaintiff’s safety.

      138.    By Defendants’ acts and/or omissions resulting in harm to Plaintiff,

Defendants’ violated and/or continue to violate and/or breach one or more federal

statutes and/or duties, including but not limited to 15 U.S.C. §§ 2607 and 2614, 33



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U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 6921-6939e, constituting negligence per

se, including liability for all injuries to Plaintiff associated with the fluorochemical

products.

          139.   Defendants’ violation of law and breach of its statutory duties directly

and proximately caused and continue to directly and proximately cause damage to

Plaintiff in the form of economic damage and bodily injury for which Defendants are

liable.

          WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

     COUNT III. PAST AND CONTINUING TRESSPASS AND BATTERY

          140.   Plaintiff incorporates herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

          141.   Defendants have known for several decades that their fluorochemical

products are harmful and toxic to humans and animals, and once ingested, will

remain in a person’s body for a long time, including through binding to blood and/or

tissues.

          142.   Despite   such   knowledge,    Defendants    continued    to   use   the

fluorochemical products, which caused harmful physical contact with Plaintiff.

          143.   Defendants’ continued actions with knowledge that such actions will

result in harmful physical contact with Plaintiff demonstrate intent and/or reckless



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indifference by Defendants without regard to the harm they have caused and will

cause.

         144.   Defendants’ intentional acts and/or omissions have resulted in

fluorochemicals, in the body of Plaintiff or otherwise unlawful and harmful invasion,

contact, and/or presence of fluorochemicals in Plaintiff’s body, which interferes with

Plaintiff’s rightful use and possession of Plaintiff’s body.

         145.   The fluorochemicals present in and/or on Plaintiff’s body originating

from Defendants’ fluorochemical products was at all relevant times hereto, and

continues to be, the property of Defendants.

         146.   The invasion and presence of the fluorochemical products in and/or on

Plaintiff’s body was and continues to be unconsented and without permission or

authority from Plaintiff or anyone who could grant such permission or authority.

         147.   Defendants’ intentional acts and/or omissions were done with the

knowledge and/or belief that the invasion, contact, and/or presence of fluorochemical

products onto, and/or into Plaintiff’s body were substantially certain to result from

those acts and/or omissions.

         148.   Harmful contact with Plaintiff’s body was the direct and/or indirect

result of Defendant’s intentional acts and/or omissions.

         149.   The presence and continuing presence of the fluorochemical products in

and/or on Plaintiff’s body is offensive, unreasonable, and/or harmful and constitutes

a continuing and/or permanent trespass and battery.

         150.   Defendants’ past and continuing trespass and battery upon Plaintiff’s



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body directly and proximately caused and continues to directly and proximately cause

damage to Plaintiff in the form of bodily injury, for which Defendants are liable.

      WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

     COUNT IV. STRICT PRODUCTS LIABILITY – FAILURE TO WARN

      151.    Plaintiff hereby incorporates by reference all allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

      152.    Defendants knew or should have known that exposure to fluorochemical

products presented a substantial danger when used because it is hazardous to human

health and the environment.

      153.    Defendants knew or should have known that the manner in which they

were manufacturing, marketing, and selling fluorochemical products would result in

physical harm to Plaintiff.

      154.    Ordinary consumers of Defendants’ fluorochemical products would not

have recognized the risks.

      155.    Defendants failed to adequately warn Plaintiff of the potential risks of

fluorochemical products.

      156.    Adequate instructions and warnings on the fluorochemical products

could have reduced or avoided these foreseeable risks of harm to Plaintiff’s health.

      157.    Had Defendants provided adequate warnings, Plaintiff could have taken



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measures to avoid or lessen the exposure.

      158.   The lack of sufficient warnings was a substantial factor in causing

Plaintiff’s harm. As Defendants’ products were:

              1.    Defective because they failed to contain adequate
                    warnings;

             2.     Defectively Designed because they are more dangerous
                    than would be contemplated by an ordinary user, and also
                    because the risks of the products outweigh their benefits;
                    and

             3.     Defectively Manufactured as they failed to comply with
                    their own specifications.

      159.   Defendants’ failure to warn was a direct and proximate cause of

Plaintiff’s kidney cancer.

      160.   Defendants’ failure to provide adequate and sufficient warnings for the

fluorochemical products that they manufactured, marketed, and sold renders the

fluorochemical products defective products.

      161.   As a direct and proximate result of Defendants’ defective design,

Plaintiff has suffered and will continue to suffer some or all of the following damages:

             a.     Medical and hospital bills for diagnosis, monitoring, and
                    treatment of injuries;

             b.     Physical injury, both temporary and permanent;

             c.     Economic Damages;

             d.     Severe and significant emotional distress and mental pain
                    and suffering;

             e.     Humiliation, embarrassment and fear;

             f.     Loss of enjoyment of life;


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              g.     Annoyance and inconvenience; and

              h.     Other damages, which, under the law and circumstances,
                     Plaintiff is entitled to recover, including attorneys’ fees and
                     costs associated with the prosecution of this action.

       162.   As a result of Defendants’ manufacture, sale, and/or distribution of a

defective product, Defendants are strictly liable in damages to Plaintiff.

       163.   Defendants’ acts were willful, wanton, reckless, and/or conducted with

a reckless indifference to the rights of Plaintiff.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

COUNT V. PRODUCTS LIABILITY – DEFECTIVE DESIGN – RISK-UTILITY

       164.   Plaintiff hereby incorporates by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

       165.   At all times relevant to the Complaint, Defendants were regularly

engaged in the design, formulation, production, creation, making, construction,

assembly, rebuilding, sale, distribution, preparation, and labeling, of fluorochemical

products.

       166.   At all times pertinent to this Complaint, Defendants regularly

participated in placing the fluorochemical products into the American stream of

commerce.

       167.   As manufacturers, designers, refiners, formulators, distributors,


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suppliers, sellers, and marketers of fluorochemical products, Defendants owed a duty

to all persons whom Defendants’ products might foreseeably harm, including

Plaintiff, not to manufacture, sell, or market any product which is unreasonably

dangerous for its intended and foreseeable uses.

      168.   Defendants’ fluorochemical products were defectively designed and

manufactured when the products left the hands of Defendants, such that the

foreseeable risks associated with the use, storage, and disposal of the fluorochemical

products exceeded the alleged benefits associated with its design and formulation.

      169.   At all times relevant to this litigation, Defendants’ fluorochemical

products reached Defendants’ intended consumers and users without substantial

change in its condition as designed, manufactured, sold, distributed, labeled, and

marketed by Defendants.

      170.   Defendants could have manufactured, marketed, and sold alternative

designs or formulations of products that did not contain harmful fluorochemicals.

      171.   These alternative designs and/or formulations were available, practical,

and technologically feasible.

      172.   The use of these alternative designs would have reduced or prevented

the reasonably foreseeable harm to human health that was caused by the Defendants’

manufacture, marketing, and sale of fluorochemical products.

      173.   The fluorochemical products manufactured, sold, or distributed by the

Defendants were defective in design because the foreseeable risk of harm posed by

the fluorochemical products could have been reduced or eliminated by the adoption



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of a reasonable alternative design.

       174.   As a direct and proximate result of Defendants’ defective design,

Plaintiff, other exposed individuals, and the public at large have suffered and will

continue to suffer some or all of the following damages:

              a.     Medical and hospital bills for diagnosis, monitoring, and
                     treatment of injuries;

              b.     Physical injury, both temporary and permanent;

              c.     Economic Damages;

              d.     Severe and significant emotional distress and mental pain
                     and suffering;

              e.     Humiliation, embarrassment and fear;

              f.     Loss of enjoyment of life;

              g.     Annoyance and inconvenience; and

              h.     Other damages, which, under the law and circumstances,
                     Plaintiff is entitled to recover, including attorneys’ fees and
                     costs associated with the prosecution of this action.

       175.   As a result of Defendants’ design and formulation of a defective product,

Defendants are strictly liable in damages to Plaintiff.

       176.   Defendants’ acts were willful, wanton, reckless and/or conducted with a

reckless indifference to the rights of Plaintiff.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.



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         COUNT VI. PRODUCTS LIABILITY – DEFECTIVE DESIGN

      177.   Plaintiff hereby incorporates by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

      178.   At all times relevant to the Complaint, Defendants were regularly

engaged in the design, formulation, production, creation, making, construction,

assembly, rebuilding, sale, distribution, preparation, and labeling, of fluorochemical

products.

      179.   At all times pertinent to this Complaint, Defendants regularly

participated in placing the fluorochemical products into the American stream of

commerce.

      180.   As manufacturers, designers, refiners, formulators, distributors,

suppliers, sellers, and/or marketers of fluorochemical products, Defendants owed a

duty to all persons whom Defendants’ products might foreseeably harm, including

Plaintiff, not to manufacture, sell, and/or market any product which is unreasonably

dangerous for its intended and foreseeable uses.

      181.   Plaintiff used Defendants’ fluorochemical products in a reasonably

foreseeable manner and without substantial changes in the condition in which the

products were sold.

      182.   Defendants’ fluorochemical products used by Plaintiff did not perform

as safely as an ordinary consumer would have expected the products to perform when

used as Plaintiff did in an intended or reasonably foreseeable manner because PFOA

and PFOS are carcinogens and otherwise harmful to human health.



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      183.   Defendants’ defective design of the fluorochemical products was far

more dangerous than Plaintiff or an ordinary consumer would expect when used, as

Plaintiff did, in an intended and reasonably foreseeable manner.

      184.   Defendants’ fluorochemical products failure to perform safely was a

substantial factor in causing Plaintiff’s harm.

      185.   Defendants could have manufactured, marketed, and sold alternative

designs or formulations of products that did not contain harmful fluorochemicals.

      186.   These alternative designs and/or formulations were available, practical,

and technologically feasible.

      187.   The use of these alternative designs would have reduced or prevented

the reasonably foreseeable harm to human health that was caused by Defendants’

manufacture, marketing, and/or sale of fluorochemical products.

      188.   The risks of fluorochemical products were not obvious to users of the

AFFF, nor were they obvious to users in the vicinity of the AFFF use, including

Plaintiff, who were unwittingly exposed to Defendants’ toxic and carcinogenic

chemicals. Plaintiff could not have reasonably discovered the defects and risks

associated with the use of fluorochemical products and could not protect themselves

from exposure to Defendants’ fluorochemical products.

      189.   As a direct and proximate result of Defendants’ defective design,

Plaintiff has suffered and will continue to suffer some or all of the following damages:

             a.     Medical and hospital bills for diagnosis, monitoring, and
                    treatment of injuries;

             b.     Physical injury, both temporary and permanent;


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              c.     Economic Damages;

              d.     Severe and significant emotional distress and mental pain
                     and suffering;

              e.     Humiliation, embarrassment and fear;

              f.     Loss of enjoyment of life;

              g.     Annoyance and inconvenience; and

              h.     Other damages, which, under the law and circumstances,
                     Plaintiff is entitled to recover, including attorneys’ fees and
                     costs associated with the prosecution of this action.

       190.   As a result of Defendants’ design and formulation of a defective product,

Defendants are strictly liable in damages to Plaintiff.

       191.   Defendants’ acts were willful, wanton, reckless and/or conducted with a

reckless indifference to the rights of Plaintiff.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                   COUNT VII. STRICT LIABILITY (STATUTORY)

       192.   Plaintiff hereby incorporates by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full herein.

       193.   Plaintiff asserts any and all remedies available under statutory causes

of action from Plaintiff’s state for strict liability against each Defendant.

       194.   The Defendants were engaged in designing, manufacturing, marketing,

selling, and distribution of AFFF.


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      195.    AFFF was in a defective condition and unreasonably dangerous to users

and/or consumers when designed, manufactured, marketed, sold, and/or distributed

to the public by the Defendants.

      196.    As a direct and proximate result of the Defendants products’

aforementioned defects, the Plaintiff has been injured, sustained severe and

permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of

care, comfort, economic loss and damages including, but not limited to medical

expenses, lost income, and other damages.

      WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

              COUNT VIII. STRICT LIABILITY (RESTATEMENT)

      197.    Plaintiff hereby incorporates by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full herein.

      198.    The Plaintiff brings strict product liability claims under the common

law, Section 402A of the Restatement of Torts (Second), and/or Restatement of Torts

(Third) against Defendants.

      199.    As designed, manufactured, marketed, tested, assembled, equipped,

distributed and/or sold by the Defendants the AFFF product was in a defective and

unreasonably dangerous condition when put to reasonably anticipated use to

foreseeable consumers and users, including the Plaintiff.



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       200.   The Defendants had available reasonable alternative designs which

would have made the AFFF product safer and would have most likely prevented the

injuries and damages to the Plaintiff, thus violating state law and the Restatement

of Torts.

       201.   The Defendants failed to properly and adequately warn and instruct the

Plaintiff as to the proper safety and use of the Defendants product.

       202.   The Defendants failed to properly and adequately warn and instruct the

Plaintiff regarding the inadequate research and testing of the product.

       203.   The Defendants’ products are inherently dangerous and defective, unfit

and unsafe for their intended and reasonably foreseeable uses, and do not meet or

perform to the expectations.

       204.   As a proximate result of the Defendants’ design, manufacture,

marketing, sale, and distribution of the products, the Plaintiff has been injured and

sustained severe and permanent pain, suffering, disability, impairment, loss of

enjoyment of life, loss of care, comfort, and consortium, and economic damages.

       205.   By reason of the foregoing, the Defendants are strictly liable for the

injuries and damages suffered by the Plaintiff, caused by these defects in the AFFF

product.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.



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    COUNT IX. CONCEALMENT MISREPRESENTATION AND FRAUD

      206.   Plaintiff incorporates herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

      207.   Defendants knowingly, intentionally, maliciously, willfully, wantonly,

recklessly and/or negligently failed and/or refused to advise Plaintiff of the dangers

and/or health risks posed by Defendants’ fluorochemical products.

      208.   Defendants negligently, knowingly, maliciously, willfully, wantonly,

recklessly, intentionally, and/or negligently withheld, misrepresented, and/or

concealed information regarding Defendants’ fluorochemical products from Plaintiff

who had a right to know of information that would have prevented Plaintiff from

being exposed and/or continuing to be exposed to the fluorochemical products.

      209.   For at least several decades, Defendants had knowledge or the means of

knowledge that Defendants’ fluorochemical products were causally connected with or

could increase the risk of causing damage to humans and animals, including

knowledge of statistically significant findings showing a causal connection between

exposure to fluorochemical products and physical injuries in humans and animals.

      210.   In connection with the fluorochemical products, Defendants have had

and continue to have a general duty of care to disclose to Plaintiff the actual and

potential harm to their persons as a direct and proximate result of Defendants’ acts

and/or omissions, including a general duty of care to disclose to Plaintiff that

Defendants had, and were continuingly, exposing Plaintiff to harmful levels of

fluorochemicals.



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      211.   In addition to its general duty of care, Defendants also voluntarily

assumed a duty to disclose to Plaintiff the actual and potential harm to his body as a

direct and proximate result of Defendants’ acts and/or omissions, including a duty to

disclose to Plaintiff that Defendants had exposed, and were continuingly exposing

Plaintiff to harmful fluorochemical products, which duty was voluntarily assumed by

affirmatively representing to Plaintiff that the Defendants and their fluorochemical

exposure were harmless, when Defendants knew and/or reasonably should have

known that the Defendants’ fluorochemical products caused, and were continuing to

cause, bodily injury.

      212.   Through Defendants’ superior knowledge, responsibility, and/or control

over the fluorochemical products, and Defendants’ voluntary actions and/or

representations, a relationship of trust and confidence existed between Defendants

and Plaintiff.

      213.   Despite Defendants’ knowledge regarding fluorochemical exposure, and

despite Defendants’ duties to disclose to Plaintiff, Defendants negligently,

maliciously, knowingly, willfully, wantonly, recklessly and/or intentionally withheld,

misrepresented, and/or concealed information from Plaintiff regarding exposure to

fluorochemical products.

      214.   Defendants withheld, misrepresented, and/or concealed information

regarding fluorochemical exposure from Plaintiff with the intention to mislead and/or

defraud him into believing that their fluorochemical exposure was not harmful, and

to mislead and/or defraud him into continuing to use the fluorochemical products.



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        215.   Defendants withheld, misrepresented, and/or concealed information

regarding fluorochemical exposure that was a substantial factor in causing Plaintiff’s

harm.

        216.   As a direct and proximate result of the aforesaid acts and/or omissions

by Defendants, acting for and on its own behalf and as agent, ostensible agent,

employee, conspirator and/or joint venture of others, Plaintiff was exposed to

Defendants’ fluorochemical products and was injured.

        217.   Defendants not only withheld, misrepresented, and/or concealed

material information from Plaintiff but also committed fraud against Plaintiff by

affirmatively representing to Plaintiff that their fluorochemical products were

harmless and/or did not present any risk of harm, when Defendants knew, reasonably

should have known, and/or with utter disregard and recklessness as to whether it

was true or not, that Defendants’ fluorochemical products had caused, and were

continuing to cause, bodily injury and/or risk of such bodily injury to Plaintiff.

        218.   Defendants’ representations to Plaintiff were knowingly, intentionally,

negligently, and/or recklessly false.

        219.   Defendants had, and continue to have, a duty of care to provide Plaintiff,

with truthful representations regarding the actual and potential harm to his person

as a direct and proximate result of Defendants’ acts and/or omissions, and Defendants

voluntarily assumed a duty of care to provide Plaintiff with truthful representations

regarding Defendants’ fluorochemical products and the actual and potential harm to

his persons as a direct and proximate result of Defendants’ acts and/or omissions.



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         220.   Defendants’ affirmative representations and/or omissions to Plaintiff

were false and were material to Plaintiff in forming his belief that Defendants’

fluorochemical products were safe, in causing him to continue to use the

fluorochemical products, and in causing him to not seek treatment and/or ways to

remedy his past and continuing exposure to fluorochemical products.

         221.   Defendants made the affirmative representations and/or omissions to

Plaintiff with the intention that Plaintiff would be misled into relying on such

affirmative representations and/or omissions.

         222.   Plaintiff relied on Defendants’ affirmative representations and/or

omissions in forming his belief that Defendants’ fluorochemical products were safe in

causing them to continue to use the fluorochemical products, and in not seeking

treatment and/or ways to remedy his past and continuing exposure to Defendants’

fluorochemical products.

         223.   Plaintiff was damaged and physically harmed as a direct and proximate

result    of    their   justified   reliance   on   Defendants’   affirmative,   fraudulent

representations and/or omissions and, as a direct and proximate result of such

justified reliance, Plaintiff continued to use the fluorochemical products.

         WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.




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     COUNT X. BREACH OF EXPRESS AND IMPLIED WARRANTIES

      224.    Plaintiff hereby incorporates by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full herein.

      225.    At all times relevant hereto, the Defendants manufactured, marketed,

labeled, and sold the AFFF products that has been previously alleged and described

herein.

      226.    At the time the Defendants designed, developed, marketed, sold,

labeled, and distributed the AFFF products, the Defendants knew of the use for which

it was intended, and implied and/or expressly warranted that the product was

merchantable, safe, and fit for its intended purpose.

      227.    The Defendants warranted that the product was merchantable and fit

for the particular purpose for which it was intended and would be reasonably safe.

These warranties were breached, and such breach proximately resulted in the

injuries and damages suffered by the Plaintiff.

      228.    The Plaintiff is within the class of foreseeable users and reasonably

relied upon Defendants' judgment, and the implied and/or express warranties in

using the products.

      229.    The Defendants breached their implied and/or express warranties and

did not meet the expectations for the performance of the product when used for its

intended use and was neither of merchantable quality nor safe for its intended use in

that the product has a propensity to cause serious injury, pain, and cancer.

      WHEREFORE, the Plaintiff prays judgments against the Defendants for



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actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                             COUNT XI. WANTONESS

       230.   Defendants and their employees, agents, officers, and representatives

owed a duty of care to end users of their AFFF products, including Plaintiff.

       231.   Defendants breached the duty of care owed to the Plaintiff.

       232.   The actions of Defendants and their employees, agents, officers, and

representatives were willful and wanton and exhibited a reckless disregard for the

life, health, and safety of the end users of Defendants’ AFFF products, including

Plaintiff.

       233.   As a proximate and foreseeable consequent of the actions of Defendants,

Plaintiff was exposed to unreasonably dangerous toxic PFAS containing AFFF, which

caused Plaintiff’s injury.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

         COUNT XII. NEGLIGENT, INTENTIONAL, AND RECKLESS
               INFLICTION OF EMOTIONAL DISTRESS

       234.   Plaintiff incorporates herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

       235.   Defendants’ acts and/or omissions were negligent, intentional, and/or


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reckless, including Defendants’ continued pollution of the environment and resultant

exposure of Plaintiff to harmful fluorochemical products, despite knowing for decades

that such exposure was causing and would continue to cause harm and/or

unacceptable risk of harm to Plaintiff.

       236.   Defendants’ negligently, knowingly and/or intentionally withheld and

concealed material information from and/or affirmatively misrepresented to Plaintiff

that they were not exposed to harmful fluorochemical products and/or that the

fluorochemical products were not causing or creating any risk of harm to them,

despite knowing at the time these concealments and/or misrepresentations were

made that the fluorochemical products were causing and would continue to cause

harm and/or unacceptable risk of harm to persons, including Plaintiff.

       237.   At the time of Defendants’ negligent, knowing, and/or intentional acts

and/or omissions, it was foreseeable to Defendants and Defendants were certain

and/or substantially certain that its actions and/or omissions would cause emotional

distress to Plaintiff.

       238.   Defendants’   acts   and/or   omissions   were   extreme,   outrageous,

intolerable, and/or offended the generally accepted standards of decency and

morality.

       239.   By continuing to expose Plaintiff to harmful fluorochemical products,

and continuing to misrepresent to Plaintiff that the fluorochemical products were not

and would not cause them harm or risk of harm and/or continuing to withhold and/or

conceal from Plaintiff material information on such issues, despite knowing that the



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fluorochemical products were causing and would continue to cause harm and/or risk

of harm, Defendants acted in an extreme, outrageous, and intolerable manner which

offended any generally accepted standard of decency and morality.

      240.   Defendants’ acts and/or omissions resulting in Defendants’ concealment

and/or misrepresentations, directly and proximately caused physical harm, and

continue to cause physical harm, to Plaintiff.

      241.   Defendants’ acts and/or omissions resulting in Defendants’ concealment

and/or misrepresentations, directly and proximately caused great emotional

suffering, and continue to cause emotional suffering and distress, to Plaintiff.

      242.   Defendants’ extreme, outrageous and intolerable actions were a

substantial factor in causing Plaintiff to suffer severe physical, mental, and emotional

distress.

      243.   As a direct and proximate result of Defendants’ extreme, outrageous and

intolerable actions, Plaintiff has and will continue to suffer severe physical, mental,

and emotional distress.

      244.   No reasonable person could be expected to endure the mental anguish

caused by the knowledge that entities have negligently, knowingly, and/or

intentionally exposed them to years of harmful contact with AFFF containing PFOA

or PFOS and/or their precursor chemicals, and has furthermore actively

misrepresented and/or concealed such danger from them, while reaping hundreds of

millions of dollars in profits as a direct and proximate result.

      WHEREFORE, the Plaintiff prays judgments against the Defendants for



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actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                       COUNT XIII. PUNITIVE DAMAGES

       245.   Plaintiff hereby repeats, realleges, and reiterates each and every

allegation in the preceding paragraphs as if fully restated herein.

       246.   At all times relevant to the present cause of action, Defendants

manufactured, marketed, and sold the fluorochemical products that Plaintiff used,

resulting in the physical bodily injuries that Plaintiff has suffered and will continue

to suffer.

       247.   When the above-described affirmative, voluntary, and intentional acts

were performed by Defendants, Defendants had good reason to know or expect that

their fluorochemical products were toxic chemicals capable of causing harm to human

health.

       248.   Defendants’ negligent, reckless, willful, fraudulent, and/or wanton

actions and/or intentional failures to act caused Plaintiff to be exposed to

fluorochemical products.

       249.   The willful, wanton, malicious, fraudulent and/or reckless conduct of

Defendants includes, but is not limited to:

              a.    issuing no warnings and failing to divulge material
                    information concerning the release of fluorochemicals,
                    including but not limited to PFOA and PFOS;

              b.    failing to take all reasonable measures to ensure
                    fluorochemical products would be used effectively and


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                    properly disposed of;

             c.     failing to prevent the foreseeable impacts of fluorochemical
                    exposure upon the Plaintiff; and

             d.     withholding,     misrepresenting,     and/or    concealing
                    information regarding the releases of fluorochemical
                    products and exposure from Plaintiff, other exposed
                    individuals, and the public at large with the intention to
                    mislead and/or defraud them into believing that their
                    exposure to fluorochemical products was not harmful, and
                    to mislead and/or defraud them into continuing to purchase
                    and consume drinking water contaminated with
                    fluorochemical products.

      250.   As a result of Defendants’ conduct, Plaintiff has been forced to incur and

will continue to incur significant costs related to the harm caused by Defendants’

fluorochemical products and will continue to suffer serious, debilitating, and severe

physical, mental, and emotional distress of his kidney cancer caused by Defendants’

fluorochemical products.

      251.   Defendants have demonstrated an outrageous conscious disregard for

the physical safety of Plaintiff and acted with implied malice, warranting the

imposition of punitive damages.

      252.   Upon information and belief, Defendants’ conduct involved wanton,

willful, and/or a conscious and reckless disregard for the health, safety, property, and

rights of others. The Court should award Plaintiff punitive damages in an amount

sufficient to deter and punish such conduct.

      WHEREFORE, the Plaintiff prays judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,


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and proper.

                TOLLING OF THE STATUTE OF LIMITATIONS

A.    DISCOVERY RULE TOLLING

      253.    Plaintiff had no way of knowing about the risk of serious injury

associated with the use of and exposure to AFFF until very recently.

      254.    Within the time period of any applicable statute of limitations, Plaintiff

could not have discovered that exposure to AFFF is harmful to human health through

the exercise of reasonable diligence.

      255.    Plaintiff did not discover and did not know of facts that would cause a

reasonable person to suspect the risk associated with the use of and exposure to

AFFF; nor would a reasonable and diligent investigation by Plaintiff have disclosed

that AFFF could cause personal injury.

      256.    For these reasons, all applicable statutes of limitations have been tolled

by operation of the discovery rule with respect to Plaintiff’s claims.

B.    FRAUDULENT CONCEALMENT TOLLING

      257.    All applicable statute of limitations has also been tolled by Defendants

knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the period relevant to this action.

      258.    Instead of disclosing critical safety information regarding AFFF,

Defendants have consistently and falsely represented the safety of AFFF products.

      259.    This fraudulent concealment continues through the present day.

      260.    Due to this fraudulent concealment, all applicable statutes of limitations



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have been tolled by operation of the discovery rule concerning Plaintiff’s claims.

C.          ESTOPPEL

            261.   Defendants were under a continuous duty to consumers, end-users, and

other persons coming into contact with their products, including Plaintiff, to

accurately provide safety information concerning its products and the risk associated

with the use of and exposure to AFFF.

            262.   Instead, Defendants knowingly, affirmatively, and actively concealed

safety information concerning AFFF, and the severe risks associated with the use of

and exposure to AFFF.

            263.   Based on the foregoing, Defendants are estopped from relying on any

statute of limitations in defense of this action.

                                  PRAYER FOR RELIEF

            WHEREFORE, the Plaintiff demands judgment against Defendants, and each

of them, jointly and severally, and requests the following relief from the Court:

       I.          Physical pain and suffering in the past and which, in reasonable
                   probability, Plaintiff, CHARLES RUSSELL PERRY, III will continue to
                   suffer in the future;

      II.          Physical impairment and incapacity in the past and which, in
                   reasonable probability, Plaintiff, CHARLES RUSSELL PERRY, III will
                   continue to suffer in the future;

     III.          Mental anguish in the past and which, in reasonable probability,
                   Plaintiff, CHARLES RUSSELL PERRY, III will sustain in the future;

     IV.           Reasonable and necessary medical expenses for treatment received in
                   the past, and, based upon reasonable medical probability, the
                   reasonable medical expenses Plaintiff, CHARLES RUSSELL PERRY,
                   III will incur in the future;



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    V.        Disfigurement in the past and which, in reasonable probability,
              Plaintiff, CHARLES RUSSELL PERRY, III will continue to suffer in the
              future;

   VI.        Punitive damages;

  VII.        Plaintiff, CHARLES RUSSELL PERRY, III be awarded whole, fair, and
              complete recovery for all claims and causes of action relevant to this
              action;

 VIII.        Plaintiff, CHARLES RUSSELL PERRY, III be awarded all appropriate
              costs, fees, expenses, and prejudgment and post-judgment interest
              under the laws of the State of Maryland as authorized by law on the
              judgments entered in Plaintiffs’ behalf; and

   IX.        Such other relief the court deems just and proper.

                            DEMAND FOR JURY TRIAL

         Pursuant to FED. R. CIV. P. 38(b), Plaintiff respectfully demands a jury trial

 on the issues triable by jury.


Dated: June 13, 2022                    Respectfully submitted,

                                        SIMON GREENSTONE PANATIER, P.C.


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